                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 NETCHOICE,
                                          Plaintiff,
 v.
                                                       Case No. 3:24-cv-01191
 JONATHAN SKRMETTI, in his official
 capacity as the Tennessee Attorney General &
 Reporter,
                                      Defendant.

                  DEFENDANT’S OPPOSITION TO PLAINTIFF’S
              MOTION FOR A TEMPORARY RESTRAINING ORDER
       Though NetChoice calls its filing a “motion for a temporary restraining order and renewed

motion for a preliminary injunction,” Doc.48 at 1, Tennessee will treat it as a “TRO motion,” Doc.51.

Tennessee has already responded to NetChoice’s motion for a preliminary injunction. See PI-Opp.

(Doc.26). That motion, as NetChoice appreciates, remains “pending,” TRO-Br. (Doc.49) at 3, 25; so

there is nothing for NetChoice to “renew.” And it would be improper for NetChoice to refile the

same motion twice, perhaps planning to make new arguments and submit new evidence in its “re-

newed” reply that it omitted from its original preliminary-injunction motion. This Court should treat

the parties’ original filings as the relevant papers for purposes of the preliminary injunction (and any

interlocutory appeal), see Docs.8-9, 26-31, 35, and it should strike or disregard anything new that

NetChoice submits in reply to support its still-pending request for a preliminary injunction, e.g., FDIC

v. Bulldog Truck & Equip. Sales, 2014 WL 12623016, at *8 (N.D. Ga. Jan. 17) (sua sponte disregarding

the second version of the same motion).

       As for the TRO, NetChoice’s motion fails for all the same reasons as its preliminary-injunction

motion—plus a few more. NetChoice remains unlikely to succeed on the merits, especially after the

Supreme Court’s recent decision in TikTok v. Garland and the Sixth Circuit’s recent stay in Free Speech

Coalition v. Skrmetti. And NetChoice is even less able to prove irreparable harm in the timeframe that’s




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relevant for a TRO: from now until this Court decides the preliminary injunction. Tennessee’s law has

been in effect for nearly a month; none of NetChoice’s members are complying with it; and the risk

that Tennessee will bring an enforcement action against them in the next few weeks is speculative and

not irreparable.

        This Court should deny emergency interim relief. Instead of hastily freezing a law enacted by

Tennessee’s elected representatives to protect children from devastating harms, the Court should send

this case to discovery and motions practice—both of which could be reasonably expedited to accom-

modate NetChoice’s concerns.

                                          BACKGROUND
        “[T]he internet in general and social media in particular pose grave risks to children.” M.H. ex

rel. C.H. v. Omegle.com LLC, 122 F.4th 1266, 1268 (11th Cir. 2024). Children now have nonstop access

to the internet; and social-media platforms, owned by members of NetChoice, profit from this un-

precedented access. These companies make money by forcing account holders, including children, to

accept complex contracts that let the platform track them and sell their data. These companies also

make money from advertisers, which requires a steady stream of eyeballs. Exploiting the fact that

minors’ brains are not fully developed, these companies hook children. Their platforms are thus ha-

vens for sexual predators, pornography, and cyberbullying. See PI-Opp.2-3, 13, 23. In a recent Senate

hearing titled “Big Tech and the Online Child Sexual Exploitation Crisis,” Meta’s CEO acknowledged

these well-known harms and apologized to the children who have suffered them on his companies’

platforms. Transcript, Tech Policy Press (Jan. 31, 2024), perma.cc/Q4VX-WFYT; accord Transcript, Tech

Policy Press (Jan. 7, 2025), perma.cc/DKA3-U2SJ (Zuckerberg admitting there’s “a lot of legitimately

bad stuff” on social media, including “child exploitation”).

        Tennessee, like several States and other countries, responded by passing a law that empowers

parents. PI-Opp.2-3; see, e.g., Australia Passes Social Media Ban for Children Under 16, Reuters (Nov. 29,



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2024), perma.cc/Y4W6-AYUW. In substance, the Protecting Children from Social Media Act requires

three main things: age verification, parental consent, and parental supervision. Tennessee passed the

Act in May 2024 with an effective date of January 1, 2025. See PI-Opp.3-4.

        Though NetChoice closely tracked and lobbied against the bill, it waited five months to file

this lawsuit and seek a preliminary injunction. PI-Opp.4-5. NetChoice then asked this Court to rule

by “December 31,” just one day before the Act’s effective date. Doc.8 at 1. That choice was suspect:

NetChoice claimed that the Act’s requirements would force it to spend unrecoverable money coming

into compliance and would infringe First Amendment rights. PI-Br. (Doc.9) at 25. But by waiting so

long to sue and seeking relief on the last possible day, NetChoice risked that its motion would either

be denied or remain undecided when the Act took effect on January 1. Given NetChoice’s noncha-

lance about that risk, Tennessee questioned whether NetChoice’s members had already spent the

money to comply with the Act’s requirements (either voluntarily or because other States and countries

already require the same protections). PI-Opp.21-22. Tennessee couldn’t have predicted, though, that

NetChoice’s members were actually planning not to comply with Tennessee’s law at all on January 1,

even without a preliminary injunction.

        NetChoice lost its game of chicken. As it turned out, Chief Judge Campbell had a potential

conflict of interest (briefly owning stock of Meta, one of NetChoice’s members). Doc.48 at 2-3. So he

did not decide NetChoice’s preliminary-injunction motion by January 1, and the Act went into effect.

Since then, NetChoice has been forced to admit that its members are not complying with Tennessee’s

law. Doc.48 at 4. Still today—nearly a month after the effective date—none of NetChoice’s members

have adopted any form of age verification. See Doc.43 at 1-2 (citing, inter alia, Are Social Media Platforms

Complying with Tennessee’s New Age Verification Law?, WKRN (Jan. 1, 2025 7:44pm), perma.cc/5GLN-

7BQA); see also Intellicheck CEO: Parents, Platforms and Legislation Critical for Age Verification as TikTok

Comes Back Online, PYMNTS (Jan. 21, 2025), perma.cc/SDW7-99VM (former NetChoice member


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TikTok, which is back online, does not require age verification either). But unlike many of the laws

that NetChoice has challenged so far, Tennessee’s law has no criminal penalties. PI-Opp.4, 21. So if

companies violate it, only Tennessee’s attorney general can investigate and potentially sue for civil

penalties. §47-18-5705(a). Enforcement requires a separate legal proceeding. See §47-18-5705 (incor-

porating §47-18-108); §47-18-108(a)(1), (4). That proceeding generally cannot be filed until the entity

gets notice, an opportunity to respond, and a chance to resolve the issue. See §47-18-108(a)(2)-(3); §47-

18-5002(2). All of that takes time, and none of it has started against any entity.

         NetChoice has never explained why it waited so long to challenge Tennessee’s law. When

Tennessee opposed the preliminary injunction on the ground that NetChoice’s delay disproved irrep-

arable harm, see PI-Opp.21-22, NetChoice said nothing in reply, see PI-Reply (Doc.35). When NetChoice

moved on January 2 to “ascertain the status of its pending motion for a preliminary injunction,” it

asked this Court to consider “entering a temporary restraining order,” Doc.42 at 1, 3, but never

acknowledged its role in creating this false emergency. In its reply to that motion, NetChoice finally

said the word “delay” and claimed that it had given Chief Judge Campbell enough time to rule. Doc.45

at 1. But NetChoice still never explained why it waited so long to sue and seek interim relief in the first

place.

         On January 16, NetChoice filed this “motion for temporary restraining order and renewed

motion for preliminary injunction.” Doc.48. NetChoice says this filing is “nearly identical” to what it

filed in support of its preliminary-injunction motion. Doc.48 at 4. But in its cover motion (not in its

brief) NetChoice adds a multi-page footnote where it finally tries to explain its timing. Per NetChoice,

three other States passed similar laws with effective dates that were earlier than Tennessee’s. See

Doc.48 at 1-2 n.1. Still, NetChoice gives no reason why it couldn’t challenge Tennessee’s law soon

after it passed, litigating this case alongside those other cases (where NetChoice’s briefs and arguments




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heavily overlap). And NetChoice admits that no other court has granted it a preliminary injunction

after the law’s effective date. See id.

                                          ARGUMENT
        “The same standard generally applies to the issuance of temporary restraining orders and pre-

liminary injunctions,” Tolson v. Washburn, 2019 WL 1572931, at *6 (M.D. Tenn. Apr. 10) (Richardson,

J.) (citing Ne. Ohio Coal. for Homeless v. Blackwell, 467 F.3d 999, 1009 (6th Cir. 2006)), so NetChoice

shouldn’t get a TRO for all the same reasons it shouldn’t get a preliminary injunction, see PI-Opp.1,

5-25. But its case for a TRO is, if anything, weaker. Recent decisions from the Supreme Court and

Sixth Circuit have rejected NetChoice’s arguments and vindicated Tennessee’s defenses. And recent

events disprove NetChoice’s irreparable harm, especially its ability to show harm between now and

the time needed to resolve its preliminary-injunction motion.

I.      Recent decisions from the Supreme Court and Sixth Circuit make NetChoice even
        less likely to succeed on the merits.
        As Tennessee has explained, NetChoice has not met its burden of proving a likelihood of

success on the merits, including a “substantial likelihood of standing.” Memphis A. Philip Randolph Inst.

v. Hargett, 978 F.3d 378, 389 (6th Cir. 2020); see PI-Opp.5-21. Two recent cases—TikTok Inc. v. Garland,

2025 WL 222571 (U.S. Jan. 17), and Free Speech Coal. v. Skrmetti, Doc.23 at 1, No. 24-6158 (6th Cir.

Jan. 13, 2025), perma.cc/P7DQ-6AW7—confirm the Act’s constitutionality.

        TikTok. NetChoice argues that the Act directly burdens speech, that the Act is content-based,

and that the Act fails strict and intermediate scrutiny. See TRO-Br.10-22. Tennessee responds that the

Act doesn’t burden speech, that the Act is at worst content-neutral, and that the Act passes any level

of scrutiny. See PI-Opp.6-7, 9-14, 16-18. TikTok reinforces that NetChoice is likely wrong.

        Start with content neutrality. When the government “supports the challenged provisions with

a content-neutral justification,” then the law is “content-neutral.” TikTok, 2025 WL 222571, at *6.

Here, Tennessee “regulates the covered social-media platforms because their ‘special characteristics’



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make minors particularly susceptible to sexual exploitation and other collateral harms.” PI-Opp.18.

That justification is content-neutral because it doesn’t “referenc[e] the content of speech on [the cov-

ered platforms]” or “reflec[t] disagreement with the message such speech conveys.” TikTok, 2025 WL

222571, at *6. NetChoice argues that the Act is not content-neutral because the “secondary-effects

doctrine … applies only to physical zoning ordinances.” PI-Reply 10 (cleaned up). That argument was

already wrong under Sixth Circuit precedent, see Connection Distrib. Co. v. Holder, 557 F.3d 321, 328-29

(6th Cir. 2009) (en banc), and TikTok confirms that it’s wrong everywhere. Not a case about zoning,

TikTok relies on secondary-effects cases like Ward v. Rock Against Racism, 491 U.S. 781 (1989). See 2025

WL 222571, at *6.

        Even if Tennessee’s law regulated speech, moreover, it would be content-neutral for other

reasons identified in TikTok. It does not “target particular speech based upon its content”; “regulate

speech based on its function or purpose”; “impose a restriction, penalty, or burden by reason of con-

tent” on the platforms; or “facially regulate particular speech because of the topic discussed or the

idea or message expressed.” 2025 WL 222571, at *5 (cleaned up). Indeed, NetChoice’s members “can-

not avoid or mitigate the effects of the Act by altering their speech.” Id. (cleaned up).

        TikTok also undermines NetChoice’s argument that the challenged Act is a speaker-based re-

striction, which NetChoice says triggers strict scrutiny. PI-Br.16-17. Even if the Act reflected a

“speaker preference,” it would not trigger strict scrutiny because any “differential treatment is justified

by some special characteristic of the particular speaker being regulated.” TikTok, 2025 WL 222571, at

*6 (cleaned up). The covered platforms have “special characteristics … that justify this differential

treatment,” id.—namely, “mak[ing] minors particularly susceptible to sexual exploitation and other

collateral harms,” PI-Opp.18. “Speaker distinctions of this nature are not presumed invalid under the

First Amendment.” TikTok, 2025 WL 222571, at *6 (cleaned up).




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        TikTok also confirms that the Act would pass intermediate scrutiny. NetChoice argues that

the Act is “underinclusive,” TRO-Br.21-22, but “‘the First Amendment imposes no freestanding un-

derinclusiveness limitation,’ and the Government ‘need not address all aspects of a problem in one

fell swoop.’” TikTok, 2025 WL 222571, at *7. There is no “doub[t]” that Tennessee is “actually pur-

suing [its] interest,” id., of protecting “the physical and psychological well-being of minors,” PI-

Opp.13. Tennessee “had good reason to single out [the covered platforms] for special treatment,”

TikTok, 2025 WL 222571, at *7, because they “pose the greatest threat to children,” PI-Opp.17. And

tailoring “is satisfied so long as the regulation promotes a substantial government interest that would

be achieved less effectively absent the regulation and does not burden substantially more speech than

is necessary to further that interest.” TikTok, 2025 WL 222571, at *8 (cleaned up). NetChoice argues

that content-filtering is a narrower alternative. TRO-Br.12, 20. But NetChoice’s “proposed alterna-

tiv[e] ignore[s] the ‘latitude’ [courts must] afford the Government to design regulatory solutions.”

TikTok, 2025 WL 222571, at *8. NetChoice’s proposed alternative is insufficient, faulty, and demon-

strably ineffective. See PI-Opp.13-14; Allen Decl. (Doc.29) ¶¶47-60. Because the Act’s approach is

“not substantially broader than necessary” and Tennessee does not “ignore less restrictive approaches

already proven effective,” the Act would pass heightened scrutiny. TikTok, 2025 WL 222571, at *8.

        Finally, TikTok didn’t decide whether the law challenged there even triggered First Amend-

ment scrutiny, but the Court’s decision suggests that Tennessee’s law does not. The Act does not

“itself directly regulat[e] protected expressive activity, or conduct with an expressive component.” Id.

at *4. It directly regulates only commercial activity: “barring certain contracts and requiring ‘informed

consent.’” PI-Opp.13; see also PI-Opp.6 (“mak[ing] companies get parents’ permission before con-

tracting with minors”). And it does not directly regulate individuals who want to be account holders.

PI-Opp.11-12. So any burden on prospective account holders does not help NetChoice or its mem-

bers. See Mata Chorwadi, Inc. v. Boynton Beach, 66 F.4th 1259, 1265 (11th Cir. 2023) (“The hotel owners


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allege that the Code penalizes and chills hotel guests’ speech. But on its face, the Code imposes pen-

alties only on the owners …, so the hotel owners cannot rely on the overbreadth doctrine.” (cleaned

up)). At bottom, the Act’s regulation of commercial activity is “different in kind from the regulations

of non-expressive activity that [courts] have subjected to First Amendment scrutiny.” TikTok, 2025

WL 222571, at *4.

          Free Speech Coalition. The Sixth Circuit’s recent stay in Free Speech Coalition similarly supports

denying NetChoice emergency relief. NetChoice cannot possibly distinguish Free Speech Coalition:

NetChoice insisted that the district court’s reasoning in that case supported its challenge to the Act

here. See Doc.40. That the Sixth Circuit deemed that very reasoning likely incorrect should be fatal for

NetChoice. As Tennessee argued and the Sixth Circuit agreed, overbreadth claims are incredibly hard

to prove at the preliminary-injunction stage. Free Speech Coalition, slip op. at 4-5. The plaintiff, not the

defendant, has the heavy burden to show overbreadth. Id. at 5 (quoting Connection, 557 F.3d at 336).

Showing it requires both an adequately developed record and a careful identification and weighing of

all the law’s constitutional and unconstitutional applications. Id. at 4-5. And courts should exercise

their discretion to deny preliminary relief when the record or the plaintiff’s arguments are lacking,

especially since the Supreme Court’s forthcoming decision in Free Speech Coalition v. Paxton will likely

shed substantial light on the constitutional questions surrounding age verification and the internet. Id.

at 7-8.

          Because the plaintiff’s arguments and record did not warrant coercive interim relief in Free

Speech Coalition, NetChoice’s arguments and record cannot warrant that relief here. NetChoice never

grapples with the Act’s many constitutional applications. See PI-Opp.10 (listing examples). It even

concedes that the Act is constitutional for minors under 13. See PI-Reply 13 n.10. And Free Speech

Coalition confirms that the Act is constitutional for “pornography” websites. Slip op. at 5. Several

social-media platforms are pornographic, see PI-Opp.2, 10; and according to the district court in Free


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Speech Coalition, even the major social-media websites are rife with pornography, Doc.41 n.* (citing

2024 WL 5248104, at *15-16). As for the supposedly unconstitutional applications of Tennessee’s law,

NetChoice impermissibly relies on “hypotheticals.” Free Speech Coalition, slip op. at 5. It points to “hy-

pothetical” adults, id., who wouldn’t create social-media accounts if they had to verify their age—with

no record evidence comparing the burdens of age verification to the burdens that social-media com-

panies already impose on account holders, or accounting for the Act’s built-in privacy protections, PI-

Opp.11-12. Because NetChoice submitted none of the required evidence, it has not carried “Plain-

tiff[’s] burden of demonstrating substantial overbreadth relative to [the Act’s] plainly legitimate

sweep.” Free Speech Coalition, slip op. at 5 (cleaned up).

        Free Speech Coalition and many other recent cases reinforce that preliminary injunctions against

state laws based on overbreadth are supposed to be drastic and unusual. See Doc.34 (discussing Moody

v. NetChoice, LLC, 144 S.Ct. 2383 (2024), and the Fifth Circuit’s decision on remand). Many plaintiffs

allege that statutes are unconstitutional, but those claims are normally and better decided after discov-

ery, on a nonemergency basis. So too here.

II.     NetChoice cannot prove the irreparable harm needed for a TRO.
        As Tennessee has also explained, NetChoice has not made the necessary showings on the

equitable factors. See PI-Opp.22-23. NetChoice’s preliminary-injunction motion could be denied solely

for lack of irreparable harm, PI-Opp.21-22, and that defect is even more glaring for NetChoice’s still-

more-belated request for a TRO. NetChoice cannot justify the “extraordinary and drastic remedy” of

emergency coercive relief here. S. Glazer’s Distribs. of Ohio v. Great Lakes Brewing Co., 860 F.3d 844, 849

(6th Cir. 2017).

        Though NetChoice waited five months to seek a preliminary injunction, it didn’t seek a TRO

until after Tennessee’s law took effect. The “purpose” of a TRO is “preserving the status quo to give

a court time to determine whether a preliminary injunction is warranted.” A&W X-Press, Inc. v. FCA



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US, LLC, 2022 WL 2759872, at *3 (6th Cir. July 14). But granting a TRO now would disrupt the

status quo, since the Act is in effect and has been for nearly a month. And it makes little sense to grant

a TRO to buy time to consider a preliminary injunction, since the preliminary-injunction motion has

been pending for longer, the Act’s effective date has already passed, and the arguments and evidence

in support of NetChoice’s TRO are “identical” to the arguments and evidence supporting its prelim-

inary injunction, Doc.48 at 4.

        For similar reasons, NetChoice cannot show irreparable harm in the timeframe that’s relevant

to a TRO. Preliminary injunctions and TROs perform “different functions.” Hoechst Diafoil Co. v. Nan

Ya Plastics Corp., 174 F.3d 411, 422 (4th Cir. 1999). While “a preliminary injunction preserves the status

quo pending a final trial on the merits,” TROs “preserve the status quo only until a preliminary in-

junction hearing can be held.” Id. So movants cannot get a TRO unless they prove harms “so imme-

diate and irreparable that they will occur in the period between [now] and a future preliminary-injunc-

tion hearing.” Shenzhen Root Tech. v. Chiaro Tech., 2023 WL 3937394, at *3 (W.D. Wash. May 17).

NetChoice cannot make that showing. It doesn’t even try, instead rehashing the same theories of ir-

reparable harm from its preliminary-injunction motion. Those theories also remain unpersuasive (and

are now disproven).

        Compliance & Constitutional Theories: Before the Act went into effect, NetChoice said it

needed relief before January 1 because complying with the Act’s requirements would cost it money

and chill free speech. But January 1 arrived, and it’s now clear that NetChoice’s members are not

complying with the Act’s requirements. The Act is not costing them anything because they aren’t

doing anything. And the Act is not chilling anyone’s speech because they haven’t implemented its

threshold age-verification requirement. Dreamwidth has not spent its entire “‘budget’”; it’s still up and

running. Cf. TRO-Br.25. And though NextDoor tweaked its terms to say that Tennessee minors can-

not create accounts, TRO-Br.25, that self-inflicted harm is not traceable to the Act. The Act requires


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age verification, which NextDoor still hasn’t implemented. Doc.43 at 1-2; Doc.48 at 4. And the Act

leaves NextDoor free to “curate and disseminate speech to minors in Tennessee,” Doc.48 at 3, since

minors can be existing account holders, NextDoor can let them visit without creating accounts, and

NextDoor can let them create accounts with parental consent and supervision, see PI-Opp.12-13.

        None of these harms were ever irreparable anyway. NetChoice’s constitutional claims likely

fail. PI-Opp.5-21. NetChoice has also never explained how the Act harms its members’ free-speech

rights, PI-Opp.6-7, 16, and NetChoice cannot get extraordinary relief based on constitutional harms

to third-party adults and children that it doesn’t directly “represen[t]” and that aren’t directly regulated

by the Act, Tenn. Conf. of the NAACP v. Lee, 105 F.4th 888, 898 (6th Cir. 2024); see PI-Opp.7-9. Its

members’ compliance costs, moreover, are not irreparable because financial harms can be recovered

via money damages. NetChoice repeats the fiction that “sovereign immunity” makes those damages

unrecoverable. TRO-Br.25. But it knows that its members could seek damages by suing Tennessee

officials in their personal capacities. PI-Opp.21. While the members would have to overcome qualified

immunity, NetChoice thinks they can, since it says the merits of their constitutional claims are “clear.”

PI-Reply 5. And a possibly meritorious defense of qualified immunity, as opposed to an obviously merito-

rious defense of sovereign immunity, does not transform a monetary loss into the kind of irreparable

harm that warrants interim relief. See Border Area Mental Health Servs., Inc. v. Squier, 2013 WL 12140453,

at *7 (D.N.M. July 25); Kennedy v. Bd. of Cnty. Commissioners of Santa Fe Cnty., 2023 WL 8827729, at *5-

6 (D.N.M. Dec. 21); cf. Tenn. NAACP, 105 F.4th at 898 (doubting, in a case against a Tennessee

official, that “the extra time and money incurred” to comply with state law could be “irreparable”

(citing Sampson v. Murray, 415 U.S. 61, 90 (1974))).

        NetChoice is choosing noncompliance for a reason, one that’s related to its delay in bringing

this case. As Tennessee explained, NetChoice’s members didn’t need relief before December 31 be-

cause they’ve likely spent the time and resources to comply with the Act’s reforms already. PI-Opp.21-


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22. If its members started complying with Tennessee’s law now that it’s in effect, then their actions

would prove how quickly and easily these reforms can be implemented (and how many need no im-

plementation because the companies were doing them already, see PI-Opp.16, 21). Further, Tennessee

has explained how commonsense reforms like age verification would not deter objectively reasonable

adults from creating social-media accounts. See PI-Opp.11-12, 22. Compliance by NetChoice’s mem-

bers would again prove Tennessee right, as the companies would have empirical proof that the Act’s

reforms did not decrease the number of new accounts, the number of visitors to their sites, and the

like. This Court should not credit theories of irreparable harm about what would happen if

NetChoice’s members complied with Tennessee’s laws, when those members are actively refusing

compliance so that the reality of those harms cannot be proven or disproven.

        If NetChoice has another explanation for its five-month delay, then it hasn’t provided it—not

even in its brand-new, pages-long footnote in its cover motion. Though the point of NetChoice’s

footnote is unclear, NetChoice seems to be suggesting that it waited five months to sue because its

lawyers were busy litigating similar cases in four other States. See Doc.48 at 1-2 n.1. If that’s

NetChoice’s excuse, then it has no excuse. NetChoice is a “sophisticated claimant” and “experienced

litigator” with vast resources and a large legal team. Cummings v. John Morrell & Co., 36 F.3d 499, 507

(6th Cir. 1994). By Tennessee’s count, NetChoice is represented—in the age-verification cases alone—

by 27 lawyers and 8 law firms. Not to mention its members span all the major social-media companies,

who have billions of dollars, large in-house legal teams, and access to nearly all the nation’s largest law

firms. NetChoice is capable of handling multiple cases and briefs at once. See Litigation Center,

NetChoice (last accessed Jan. 23, 2025), netchoice.org/litigation/. And NetChoice admits that all these

state age-verification laws are “similar,” TRO-Br.1, meaning it can (and does) reuse many of the same

pleadings, arguments, and briefs. See NetChoice Cases, NetChoice (last accessed Jan. 23, 2025),

netchoice.org/category/netchoice-cases/. Here, NetChoice can apparently draft a brief in 11 business


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days, see Doc.48 at 2, or even two business days, Doc.51; and it told Chief Judge Campbell that he

needed only 26 business days (over the holidays) to draft an opinion granting a preliminary injunction,

see Doc.45 at 1.

        NetChoice has no justification for waiting 105 business days after the Act passed to challenge

it. Its five-month delay prejudiced the State by forcing it to retain experts, collect evidence, and prepare

its defense on an artificially compressed basis. Such unexplained delays defeat interim relief. Tenn.

NAACP, 105 F.4th at 898; e.g., Corizon, LLC v. Wainwright, 2020 WL 6323134, *7-11 (M.D. Tenn. Oct.

28) (Richardson, J.) (three months); Bos. Parent Coal. for Acad. Excellence v. Sch. Comm. of Bos., 996 F.3d

37, 50 (1st Cir. 2021) (four months); Wreal, LLC v. Amazon.com, 840 F.3d 1244, 1248 (11th Cir. 2016)

(five months).

        Enforcement Theory: NetChoice’s only remaining theory of irreparable harm is the sup-

posed risk of “enforcement” by Tennessee’s attorney general and “potentia[l]” civil “penalties,” TRO-

Br.25; Doc.48 at 3. Even if enforcement were irreparable, the risk that one of NetChoice’s members

will face that harm between now and a decision on the preliminary injunction—the time period rele-

vant to a TRO—is zero. As explained, enforcement would require a separate legal proceeding that

could be brought only after the target got notice, an opportunity to respond, and a chance to resolve

the issue. See §47-18-5705 (incorporating §47-18-108); §47-18-108(a)(1)-(4); §47-18-5002(2). Tennes-

see has not even begun starting that process yet for any social-media company. So this “hypothetical

threat of prosecution is not an ‘immediate,’ ‘irreparable’ injury that warrants the ‘extraordinary remedy’

of a preliminary injunction,” let alone a TRO. D.T. v. Sumner Cnty. Sch., 942 F.3d 324, 327 (6th Cir.

2019); accord Memphis, 978 F.3d at 391 (“To merit a preliminary injunction, an injury must be both

certain and immediate, not speculative or theoretical.” (cleaned up)).

        Nor was this speculative risk of enforcement ever irreparable. See MetroBanc v. Fed. Home Loan

Bank Bd., 666 F. Supp. 981, 984-85 (E.D. Mich. 1987). True, a credible threat of enforcement helps


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prove that a plaintiff has standing to bring a preenforcement challenge. Cf. Doc.45 at 1-2. But a “pro-

spective injury that is sufficient to establish standing … does not necessarily satisfy the more demand-

ing burden of demonstrating irreparable injury.” Cal. Ass’n of Priv. Postsecondary Sch. v. DeVos, 344 F.

Supp. 3d 158, 170 (D.D.C. 2018); accord Ctr. for Food Safety v. Vilsack, 636 F.3d 1166, 1171 n.6 (9th Cir.

2011) (“plaintiff may establish standing to seek injunctive relief yet fail to show the likelihood of ir-

reparable harm necessary to obtain it”); Salix v. U.S. Forest Serv., 944 F. Supp. 2d 984, 1002 (D. Mont.

2013) (“‘Establishing injury-in-fact for the purposes of standing is less demanding than demonstrating

irreparable harm to obtain injunctive relief.’”). “If every plaintiff with Article III standing was permit-

ted to circumvent the showing of irreparable harm for injunctive relief, the irreparable harm require-

ment would be meaningless.” Boone Cnty. Republican Party Exec. Comm. v. Wallace, 2024 WL 3912946, at

*7 (E.D. Ky. Aug. 22). And “if the mere threat of prosecution were allowed to constitute irreparable

harm,” “courts’ exercise of their equitable jurisdiction would not be extraordinary, but instead quite

ordinary.” Trump v. United States, 2022 WL 4366684, at *8 (11th Cir. Sept. 21) (cleaned up). The risk of

enforcement here is not irreparable because, even if NetChoice could prove that one of its members

will be imminently investigated, noticed, unable to reach a resolution, and sued, that member could

raise the same constitutional arguments that NetChoice is raising here as a defense in the “enforce-

ment proceedings.” MetroBanc, 666 F. Supp. at 985.

                                           CONCLUSION
        For all these reasons, this Court should exercise its discretion to deny NetChoice’s motion.




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 Date: January 23, 2025                        Respectfully submitted,

 JONATHAN SKRMETTI
 Attorney General and Reporter

                                               /s/ Cameron T. Norris
 Matthew D. Janssen, BPR No. 35451             Thomas R. McCarthy*
 Brian Phelps, BPR No. 40705                   Cameron T. Norris, BPR No. 33467
 Sr. Assistant Attorneys General/              Thomas S. Vaseliou*
 Managing Attorneys                            CONSOVOY MCCARTHY PLLC
 OFFICE OF THE ATTORNEY GENERAL                1600 Wilson Blvd., Suite 700
 CONSUMER PROTECTION DIVISION                  Arlington, VA 22209
 UBS Building, 20th Floor                      (703) 243-9423
 315 Deaderick Street                          cam@consovoymccarthy.com
 Nashville, TN 37243
 (615) 741-1671                                Adam K. Mortara, BPR No. 40089
 matthew.janssen@ag.tn.gov                     LAWFAIR LLC
 brian.phelps@ag.tn.gov                        40 Burton Hills Blvd., Ste. 200
                                               Nashville, TN 37215
                                               (773) 750-7154

                                               *admitted pro hac vice




                                      Attorneys for Defendant


                               CERTIFICATE OF SERVICE
       On January 23, 2025, I e-filed this document with the Court, which automatically emailed

everyone requiring notice.

                                                          /s/ Cameron T. Norris




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